      Case 2:19-cv-10927-NJB-DPC Document 260 Filed 04/08/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 MARQUETTE TRANSPORTATION CO.                                 CIVIL ACTION
 GULF-INLAND, LLC

 VERSUS                                                       NO: 19-10927


 NAVIGATION MARITIME BULGARE et al.                           SECTION: "G"


                                        JUDGMENT
        This cause having been tried and submitted to the jury, and the jury having returned a

verdict, 1 accordingly,

        IT IS ORDERED, ADJUDGED AND DECREED that there be judgment in favor of

Plaintiff Marquette Transportation Co. Gulf-Inland, LLC and against Defendants Navigation

Maritime Bulgare JSC, Balkan Navigation Ltd., and Robert Johnson in the amount of $114,000.00.

        NEW ORLEANS, LOUISIANA, this           7th     day of April, 2022.




                                                   NANNETTE JOLIVETTE BROWN
                                                   CHIEF JUDGE
                                                   UNITED STATES DISTRICT COURT




        1
            Rec. Doc. 259.
